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EXHIBIT H
Case 2:14-cv-11916-GCS-SDD ECF No. 76-9, PagelD.2473 Filed 03/24/16 Page 2 of 2

UES cree oe ale teeters ee eae Rake Pete a A ey Ye we saree oma

From: Hood, ill

Sent: Friday, March 07, 2014 16:23 AM
To: Natalle K, Reeser

Ce: Hood, Jill

Subject: RE: RE: Update

Natalie,

i wanted to send you some written documentation regarding our conversation this morning at approximately 9:05am,
since you abruptly ended the call without allawing me to finish explaining your options.

As stated on that call, the results of the investigation found that your actions on February 25, 2014 were indeed, Job
Abandonment. Thus, we will no longer be able to continue your employment at Henry Ford Health System, There are,
however, 2 ways in which we can process your separation,

4. We can process it as a “termination”, which you would then be eligible to appeal through our “Alternative
Dispute Resolution” process,

2. Youcan chose to “resign in lieu of termination”. This would allow you to separate your employment via a
resignation, however, would then negate the “appeal” process {as a resignation is not something that can be
appealed)”

| have attached beth the Employee Appeals Form and the HR Policy for Termination of Employment.

Please fet me know, in writing, by Spm on Monday March 10" if you would like to resign in leu of termination. If] have
not received that writing decision from you by that time, | will process your separation as a termination.

if you have any questions, please let me know,

Jif &. Hood, PHR

Hunan. Resources

Senior Business Partner

Henry Ford Hospital and Volunteer Services
Office: 313-916-8564

Blackberry: 313-575-G742

From: Natalie IX, Reeser [mailtoinatalia_ 19 99@yahoo.com}

Sent: Thursday, March 06, 2014 4:18 PM
To: Hood, Ill
Subject: Re: RE: Update

Hi Jill I just left a message for u, I am so happy this is over and look forward to speaking with you so I can go
back to work, ive missed my patients deeply,

Sent from Yahoo Mail on Android

From: Hood, Jill <JHOODL@hfhs.ore>:

To: Natalie K, Reeser <natalie 19 99@vyahoo.com>;
Ce: Hood, Jill <IHOODI @hfhs.ore>;

HFH70
